WAWD Gev. 12l1 I) IFP and Written Consent
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                                              UNITED STATES DISTRICT COURT
                                                    Western District of Washington

                                                                                        12-00683 SJO
           n Scannell                                                      case Number.


     Plaintiff
                                                                          DECLARATION AND APPLICATION
         vs.
                                                                          TO PROCEED IN FORMA PAUPERIS
                                                                          AND WRITTEN CONSENT FOR
                     State Bar Association, et al
                                                                          PAYMENT OF COSTS


                      DECLARATION AND APPLICATION TO PROCEED IN FORMA PAUPERIS

     I   (print your name) John Scannell                                    declare I am the plaintiff in this case; I believe I am
     entitled to relief; and I am unable to pay the costs of this proceeding or give security therefor. The nature of
     my action is briefly stated as follows:        This is a suit against the bar association and some of its members including

     individual members of Washington State Supreme Court for Civil Rights violations, RICO, Sherman antitrust, and state tort claims

     ln support of this application, I answer a// of the following questions:

     1. Are you presently employed?

     tr        Yes Total amount of net monthly salary (take home pay)            S
                                                                                     50


                    Name and address of employel Actionlaw.net, 501 5. Jackson, #302, Seattle, WA., 98104

     n No Date of last employment                             Total amount of last net monthly salary           S



     2. lf married, is your spouse presently employed?             ffi   Not married

     I         Yes Total amount of spouse's net monthly salary (take home pay)              S


                    Name and address of employer

     tr No Date of spouse's last employment                                Total amount of last net monthly salary         S


     3. For   the past twelve months, list the amount of money you and/or your spouse have received from any of
          the following sources
     a. Business, profession or other self-employment                                            S   s1000
     b. lncome from rent, interest or dividends                                                  $
     c. Pensions, annuities or life'insurance payments                                           S   11,000

     d. Disability, unemployment, workers compensation or public assistance                      S

     e. Gifts or inheritances                                                                    5

     t.                                   alimony
          Money received from child support or                                                   S

     g. Describe any other source of income                                                      5



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4. List the amount for each of the following for you and/qr your spouse:


Cash on     hand    5 100                       Checking Account      S   0                     Savings Account 5 0

5. Do you and/or your spouse own or have any interest in any real estate, stocks, bonds, notes, retirement
plans, automobiles, or other valuable property (excluding ordinary household furnishings and clothing)?
If Yes, describe the property and state its approximate value:


I     Yes            inoperable 70 VW's
                                                                                                                   50
trNo
6. Are any personsdependent upon you or your spouse for support? lf Yes, state their relationship to you
or your spouse, and indicate how much is contributed toward their support each month. (Do not include
names of minor children. )
!     Yes


ENo
7. Describe the types of monthly expenses you incur, such as housing, transportation, utilities, loan
   payments, or other regular monthly expenses and the amount spent each month.

          such as phone, hiring temporary employees to work in office, student loans, electrical bills,
        supplies, transportation costs
                                                                                                                        S   1000.00 per




8. Provide any other information that           will help explain why you cannot pay court fees and costs.
       law office has been losing money ever since I lost my license through actions of the Bar that are the subject of this suit.   I

     debt to Bar Association for judgments, electrical company for past electrical bills, and phone company for phone bills.




I   declare under penalty of perjury that the

)uly 8,2014

@
            WRITTEN CONSENT FOR PAYMENT OF COSTS UNDER LOCAL RULE CR3(b)

l, (print your namel John       R'   scannell

hereby consent that any recovery in damages that I may receive in the above-captioned cause may be
reduced, if so directed by the court, in such an amount as is necessary for payment of the unpaid fees and
costs which are taxed against me in the course of this litigation.


)uly 8,2014

Executed on: (Date)              Signature of Plaintiff
                                                                ea1ehf        2
